 Case 23-42145          Doc 130    Filed 10/15/24 Entered 10/15/24 15:05:11          Desc Main
                                   Document      Page 1 of 28



                            IN THE UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

 IN RE:                                             Case No.:    23-42145

 Iron Eagle Inc.                                    Chapter:     11
 XX-XXXXXXX
 PO Box 2601
 Wylie, TX 75098

                                          Debtor.

                               ORDER CONFIRMING
     SECOND AMENDED PLAN OF REORGANIZATION OF IRON EAGLE, INC PURSUANT TO
            SECTION 1190 OF THE BANKRUPTCY CODE DATED JUNE 10, 2024

          On the 8th day of October 2024, came on before the Court the following matters: (a)

confirmation hearing on Second Amended Plan of Reorganization of Iron Eagle, Inc., Pursuant to

Section 1190 of the Bankruptcy Code Dated June 10, 2024 [Docket Entry No. 112] (“Plan”). The

Court, having considered the Plan, the ballot tally, and other evidence presented at the hearing,

and there being no objections to the confirmation of the Plan, made its findings of fact and

conclusions of law orally on the record, which findings and conclusions are incorporated by

reference herein and set forth in part as follows (capitalized terms used in this Order and not

defined herein shall have their respective meanings set forth in the Plan, or if not defined in the

Plan, as defined in the Bankruptcy Code):

                               FINDINGS OF FACT AND CONCLUSIONS OF LAW

          1.       The Debtor commenced the subject bankruptcy case by the filing of a voluntary

petition under Chapter 11 of the United States Bankruptcy Code on November 8, 2023 (the

“Petition Date”).
 Case 23-42145        Doc 130     Filed 10/15/24 Entered 10/15/24 15:05:11          Desc Main
                                  Document      Page 2 of 28



       2.      The deadline for filing objections to the Plan was September 20, 2024. The

deadline for voting to accept or reject the Plan was September 25, 2024.

       3.      The Confirmation hearing was calendared for October 8, 2024, at 9:30 a.m.

       4.      The Debtor proposed the Plan in good faith to provide for the treatment of all

claims against the Debtor and this bankruptcy estate.

       5.      All creditors and other parties in interest, in accordance with the orders of this

Court, timely received copies of: (a) the Plan; and (b) the Order Continuing Hearing. Further, all

such parties, in accordance with the orders of this Court, timely received appropriate notice of:

(a) the time within which ballots must have been received by the Debtor; (b) the time within

which objections to confirmation must have been filed; and (c) the Confirmation Hearing.

       6.      The Ballot Summary, which was filed with the Court on October 5, 2024 [Docket

Entry No. 126], reflects the voting results tabulated by the Debtor from the timely received

ballots of each Class designated under the Plan.

       7.      The Court has jurisdiction over this matter as a core proceeding pursuant to the

provisions of 11 U.S.C. § 157 (b)(2)(A)-(L), and (O).

       8.      The Plan meets all requirements of §§ 1122 and 1123 of the Bankruptcy Code and

the Debtor has complied with § 1125 of the Bankruptcy Code with respect to the Plan by § 1181.

       9.      The Plan complies with all pertinent provisions of § 1129 as modified by § 1191 of

the Bankruptcy Code (as set forth in greater detail below) and with all other requirements of the

Bankruptcy Code.

       10.     Due and Sufficient Notice. Notice of the Confirmation Hearing was appropriate

and complied, in all respects, with Bankruptcy Rule 2002(b).




 Confirmation Order                                                                        Page 2
 Case 23-42145        Doc 130     Filed 10/15/24 Entered 10/15/24 15:05:11             Desc Main
                                  Document      Page 3 of 28



       11.     Plan Compliance - Bankruptcy Code Section 1129(a)(1). The Plan complies with

the applicable provisions of the Bankruptcy Code and Bankruptcy Rules.

       12.     Proponent Compliance - Bankruptcy Code Section 1129(a)(2). The Debtor has

complied with the applicable provisions of the Bankruptcy Code.

       13.     Good Faith - Bankruptcy Code Section 1129(a)(3). The Plan has been proposed in

good faith under Section 1129(a)(3) and not by any means forbidden by law and the Debtor is

entitled to the protections of Section 1125(e).

       14.     Payments - Bankruptcy Code Section 1129(a)(4). Payments made or to be made

by the Debtor for services or for costs and expenses in or in connection with the Plan and/or case

have been approved by or are subject to the approval of this Court.

       15.     Disclosures Regarding Post-Confirmation Management - Bankruptcy Code Section

1129(a)(5). The Debtor accurately disclosed in the Plan the identity and any affiliations of the

individuals proposed to serve as officers and directors of Debtor after the Plan is confirmed, and

the compensation to be paid to such individuals after confirmation of the Plan.

       16.     No Rate Change - Bankruptcy Code Section 1129(a)(6). No governmentally

regulated rates are involved in this case.

       17.     Best Interests of Creditors - Bankruptcy Code Section 1129(a)(7). With respect to

the impaired classes of claims or interests, each holder of a claim or interest of such classes has

accepted the Plan or will receive or retain under the Plan on account of such claim or interest

property of a value, as of the effective date of the Plan, that is not less than the amount that such

holder would receive or retain if the Debtor was liquidated under Chapter 7 of the Bankruptcy

Code on such date.




 Confirmation Order                                                                          Page 3
 Case 23-42145        Doc 130      Filed 10/15/24 Entered 10/15/24 15:05:11             Desc Main
                                   Document      Page 4 of 28



       18.     Acceptance of the Plan - Bankruptcy Code Section 1129(a)(7) and (8).

               a.     The holders of Claims in Classes 5, 6, and 12 contained Class members that
       actually voted, are impaired and voted in excess of the amounts and numbers required
       by Section 1126 of the Bankruptcy Code.

              b.      The holders of Class 1 Claims (Pre-Petition Priority Claims) are impaired.
       The holder of such claims did not object to confirmation and did not vote. The treatment
       of any such claims is consistent with the Bankruptcy Code, the Federal Rules of
       Bankruptcy Procedure, and the orders of this Court..

               c.      The holders of Class 13 Interests are not impaired.

       19.     Cram Down - Bankruptcy Code Section 1191(c)(1). The Debtor did not satisfy the

requirements of Bankruptcy Code § 1129(a)(8) for Classes 2, through 4, and 7 through 11.

              a.     The holder of Claims in Classes 2, through 4, and 7 through 11 are impaired
       and did not vote on the Plan or object to the confirmation of the Plan. The treatment of
       any such claims satisfies the provisions of 11 U.S.C. §§ 1129(b) and 1191(c)(1) through (3).

       20.     Priority Claims - Bankruptcy Code Section 1129(a)(9). Claims entitled to priority

under 11 U.S.C. §507(a)(8) will be paid in accordance with the Bankruptcy Code or as per the

provisions of the Plan.

       21.     Class Acceptance - Bankruptcy Code Section 1129(a)(10). At least one class of

claims that is impaired under the plan has accepted the plan, determined without including any

acceptance of the plan by any insider.

       22.     Feasibility - Bankruptcy Code Section 1129(a)(11). The Plan is feasible and the

confirmation of the Plan is not likely to be followed by the liquidation, or need for further financial

reorganization of the Debtor.

       23.     Fees - Bankruptcy Code Section 1129(a)(12). All fees payable under 28 U.S.C.

§1930(a)(3) have been paid.




 Confirmation Order                                                                            Page 4
 Case 23-42145        Doc 130     Filed 10/15/24 Entered 10/15/24 15:05:11          Desc Main
                                  Document      Page 5 of 28


       24.      Retiree Benefits - Bankruptcy Code Section 1129(a)(13). There are no retiree

benefits involved in this case.

       25.      Domestic Support Obligations - Bankruptcy Code Section 1129(a)(14). Section

1129(a)(14) is not applicable in this case.

       26.      Individual Status - Bankruptcy Code Section 1129(a)(15). Section 1129(a)(15) is

not applicable in this case.

       27.      Transfer Compliance - Bankruptcy Code Section 1129(a)(16). The Plan does not

contemplate the transfer of property and thereby complies with the provisions of 11 U.S.C.

§1129(a)(16).

       28.      Plan Modifications – Bankruptcy Rule 3019(a). The Plan modifications set forth

herein do not adversely change the treatment of the claim of any creditor or the interest of any

equity security holder who has not accepted the modification in writing.

       THEREFORE, based upon the foregoing findings of fact and conclusions of law.

                                              ORDER

       IT IS HEREBY ORDERED that:

       1.       The findings set forth above and conclusions of law stated herein and as stated

orally on the record shall constitute the Court’s findings of fact and conclusion of law pursuant

to Bankruptcy Rule 7052, made applicable to this proceeding pursuant Bankruptcy Rule 9014. To

the extent any finding of fact shall later be determined to be a conclusion of law, it shall be so

deemed, and to the extent any conclusion of law later shall be determined to be finding of fact,

it shall be so deemed.




 Confirmation Order                                                                        Page 5
 Case 23-42145        Doc 130     Filed 10/15/24 Entered 10/15/24 15:05:11             Desc Main
                                  Document      Page 6 of 28



       2.      All objections, if any, if not withdrawn, waived, or settled at or prior to the hearing

are overruled on the merits.

       3.      The Plan, a true and correct copy of which is attached hereto and incorporated

herein by this reference and as modified by this Order, is and shall be hereby confirmed in all

respects pursuant to Sections 1129(a) and 1191(b) of the Bankruptcy Code.

       4.      The Plan is hereby modified, without limitation, as follows:


 Plan Provision                Proposed Revised Paragraph

 Article II, Section 30 -      “Substantial Consummation" shall occur upon Reorganized
 Definition of Substantial     Debtor's commencement of payments to creditors as provided in
 Consummation (p. 5)           this Plan, provided however, that the occurrence of Substantial
                               Consummation shall not affect the Court’s ability to convert this
                               case to Chapter 7 pursuant to the default provisions of Article XII
                               of this Plan.

 Article VI - Treatment of      Class 1 Claimants (Allowed Administrative Claims of
 Class 1 (p. 7):                Professionals and Subchapter V Trustee or any creditor with an
                                Allowed Administrative Claim) are impaired and will be paid in
                                full pursuant to 11 U.S.C. § 1191(e). All Administrative fees are
                                subject to approval by the Court as reasonable.

                                More specifically, as it relates to Iron Capital Rentals (USA) Inc.
                                ("ICR"), the Order Confirming Plan shall provide that ICR has an
                                allowed administrative expense claim pursuant to 11 U.S.C. §
                                503(b)(1)(A) and/or 11 U.S.C. § 365(d)(5) in the amount of
                                $215,000.00 without the need for ICR to file a motion or otherwise
                                seek allowance of such claim (“ICR Administrative Claim”). The
                                Debtor shall pay the ICR Administrative Claim in full over a five-
                                year period through sixty (60) equal monthly installment
                                payments. Debtor estimates each monthly payment to ICR will be
                                in the amount of $3,584.00. The first monthly payment to ICR shall
                                be due no later than thirty (30) days following the Final
                                Confirmation Date, and thereafter on the first calendar day of
                                each subsequent month for fifty-nine (59) months. If any payment
                                due date falls on a Saturday, Sunday, or Federal Holiday, the
                                payment shall be due on the next business day. Unless otherwise
                                agreed in writing, all payments to ICR under the Plan shall be made
                                via automatic clearing house or wire pursuant to payment



 Confirmation Order                                                                           Page 6
 Case 23-42145         Doc 130     Filed 10/15/24 Entered 10/15/24 15:05:11             Desc Main
                                   Document      Page 7 of 28



                                 instructions which shall be provided by ICR to the Debtor or
                                 Reorganized Debtor, as applicable.

                               The Class 1 Claimants are impaired under this Plan.

 Article XII - Default (p.     Unless expressly provided herein to the contrary, no Claimant shall
 12)                           have the right to enforce any rights under this Plan until the
                               Reorganized Debtor fails to cure any default hereunder within
                               fifteen (15) days of receipt of written notice of such default to
                               Reorganized       Debtor      at      Brandon       Weinlein     at
                               brandon@ironeagleexcavation.com. The Debtor will be entitled to
                               no more than two (2) notices of default during the term of the Plan
                               from any creditor. Upon a third default, the affected creditor may
                               file a motion to convert the bankruptcy case to a case under
                               Chapter 7 of the Bankruptcy Code, regardless whether Substantial
                               Consummation has occurred. The Debtor and Reorganized Debtor,
                               as applicable, shall be deemed to consent to conversion and shall
                               not object to entry of an order granting such relief.

 Article XIII - Discharge        Upon Confirmation pursuant to 11 U.S.C. §1191(a) to the extent
 (pp. 12-13)                     that a Claim or Debt has been dealt with under this Plan, such
                                 Claim or Debt will be discharged. Upon confirmation pursuant to
                                 11 U.S.C. § 1191(b) discharge shall occur upon completion of all
                                 payments required under this Plan. Notwithstanding the
                                 foregoing, if the Court converts this case to Chapter 7 pursuant
                                 to the default provisions of Article XII of this Plan, each Creditor
                                 shall retain and may enforce and receive distributions upon their
                                 Claims against the Chapter 7 estate, with credit for payments
                                 received prior to conversion under the Plan.

        5.      All perfected liens and security interests of any creditor shall continue to be

perfected with respect to such creditor’s collateral.

        6.      This Court shall retain jurisdiction over this case and related matters, proceedings

and issues as set forth in the Plan and to the fullest extent allowed by the Bankruptcy Code except

to the extent otherwise set forth herein.

        7.      This Order is hereby declared to be in recordable form, and shall be accepted by

any recording officer for filing and recording purposes without further additional orders,

certifications or other supporting documents.




 Confirmation Order                                                                            Page 7
 Case 23-42145         Doc 130       Filed 10/15/24 Entered 10/15/24 15:05:11           Desc Main
                                     Document      Page 8 of 28



        8.      That each and every federal, state, commonwealth, local, foreign or other

governmental authority, agency or department is hereby directed to accept any and all

documents and instruments necessary, useful or appropriate to effectuate, implement or

consummate the transactions contemplated by the Plan and this Order; and it is further

        9.      To the extent that the terms of the Plan conflict with any prior Orders of this Court,

the terms of this Plan shall be controlling.

        10.     Within fourteen (14) days after the date of the entry of this Order, the Debtor shall

mail or cause to be mailed to all Creditors who have filed a proof of claim in this case (provided

such claims have not previously been disallowed), parties who have filed a Notice of Appearance,

parties to rejected leases or executory contracts and all other parties listed on the Debtor’s

Master Service List, notice of entry of this Order.


                                                        Signed on 10/15/2024

                                                                                           SD
                                               HONORABLE BRENDA
                                               HONORABLE   BRENDA T.
                                                                   T. RHOADES,
                                                                      RHOADES,
                                               UNITED
                                               CHIEF  STATES
                                                     UNITED   BANKRUPTCY
                                                            STATES         JUDGEJUDGE
                                                                   BANKRUPTCY
 ORDER SUBMITTED BY:


 /s/ Robert T. DeMarco
 DeMarco•Mitchell, PLLC
 Robert T. DeMarco, Texas Bar No. 24014543
 Email robert@demarcomitchell.com
 Michael S. Mitchell, Texas Bar No. 00788065
 Email mike@demarcomitchell.com
 12770 Coit Road, 850
 Dallas, TX 750251
 T        972-991-5591
 F        972-346-6791
 Counsel for Debtor and Debtor-in-Possession




 Confirmation Order                                                                             Page 8
 Case 23-42145        Doc 130
                          112      Filed 10/15/24
                                         06/10/24 Entered 10/15/24
                                                            06/10/24 15:05:11
                                                                     22:50:36             Desc Main
                                   Document       Page 9
                                                       1 of 28
                                                            20



                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


IN RE                                                   §
                                                        §
IRON EAGLE INC                                          §
          .                                             §       CASE 23-42145
                                                        §
        DEBTOR                                          §


        SECOND AMENDED PLAN OF REORGANIZATION OF IRON EAGLE, INC
                        PURSUANT TO SECTION 1190
               OF THE BANKRUPTCY CODE DATED JUNE 10, 2024

TO: ALL PARTIES-IN-INTEREST, THEIR ATTORNEYS OF RECORD AND TO THE
HONORABLE UNITED STATES BANKRUPTCY JUDGE:

                                           ARTICLE I
                                         INTRODUCTION

                                       Identity of the Debtor

       Iron Eagle, Inc., (“Debtor”) filed its voluntary Chapter 11 case in the United States
Bankruptcy Court for the Eastern District of Texas, Sherman Division ("Court") on November 9,
2023. The Debtor operates an excavation company. The Debtor proposes to restructure its current
indebtedness and continue its operations to provide a dividend to the creditors of Debtor.

                                     Explanation of Chapter 11

         Chapter 11 is the principal reorganization chapter of the Code. There are different types of
Chapter 11 designations. In this case, the Debtor has chosen to proceed under a Subchapter V-
Small Business Debtor Reorganization (“Subchapter V”). Pursuant to a Subchapter V Chapter
11, a debtor is authorized to reorganize its business for its own benefit and that of its creditors and
equity interest holders. Formulation of a plan of reorganization is the principal purpose of a
Chapter 11 reorganization case. A plan of reorganization sets forth the means for satisfying claims
against and interests in the debtor. After a plan of reorganization has been filed, it must either be
accepted by holders of claims against, or interests in, the debtor, or be found by the Court not to
discriminate unfairly and that it is fair and equitable with respect to each class of claims or interests
that is impaired under the plan that has not accepted the plan.

                           Explanation of the Process of Confirmation

        Acceptance of the plan by the Creditors and Equity Interest Holders is important. In order
for the plan to be accepted by each class of claims, the creditors that hold at least two thirds (2/3)
in amount and more than one-half (½) in number of the allowed claims actually voting on the plan
in such class must vote for the plan and the equity interest holders that hold at least two-thirds (2/3)
in amount of the allowed interests actually voting on the plan in such class must vote for the plan.
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145        Doc 130
                          112      Filed 10/15/24
                                         06/10/24 Entered 10/15/24
                                                            06/10/24 15:05:11
                                                                     22:50:36            Desc Main
                                   Document
                                   Document Page  Page10
                                                       2 of
                                                         of20
                                                            28



As set forth above, a Subchapter V Chapter 11 does not require that each holder of a claim against,
or interest in, the debtor vote in favor of the plan in order for it to be confirmed by the Court.

         Confirmation of the plan discharges the debtor from its pre-confirmation debts and
liabilities except as expressly provided for in the plan and Section 1141(d) of the Code.
Confirmation makes the plan binding upon the debtors and all claimants, equity interest holders
and other parties-in-interest, regardless of whether or not they have accepted the plan.

                                         Voting Procedures

       Unimpaired Class. Claimants in Classes 1 and 14 are not impaired under the Plan. Such
Classes are deemed to have accepted the Plan.

       Impaired Classes. The Class 2 through 13 Claimants are impaired as defined by Section
1124 of the Code. The Debtor is seeking the acceptance of the Plan by Claimants in Classes 2
through 13. Each holder of an Allowed Claim in Classes 2 through 13 may vote on the Plan by
completing, dating and signing the ballot sent to each holder and filing the ballot as set forth below.

         For all Classes, the ballot must be returned to DeMarco Mitchell, PLLC, 12770 Coit Road,
Suite 850, Dallas, Texas 75251. In order to be counted, ballots must be RECEIVED no later than
at the time and on the date stated on the ballot.

                                  Best Interests of Creditors Test

        Section 1129(a)(7) of the Code requires that each impaired class of claims or interests
accept the Plan or receive or retain under the Plan on account of such claim or interest, property
of a value as of the Effective Date of the Plan, that is not less than the amount that such holder
would so receive or retain if the Debtor was liquidated under Chapter 7 of the Bankruptcy Code.
If Section 1111(b)(2) of the Bankruptcy Code applies to the claims of such class, each holder of a
claim of such class will receive or retain under the Plan, on account of such claim, property of a
value, as of the Effective Date of the Plan, that is not less than the value of such holder's interest
in the estate's interest in the property that secures such claims. In order for the Plan to be confirmed,
the Bankruptcy Court must determine that the Plan is in the best interests of the Debtor’s creditors.
Accordingly, the proposed Plan must provide the Debtor’s creditors with at least as much as they
would receive in a Chapter 7 liquidation. It is anticipated that in a Chapter 7 liquidation, the
Debtor's creditors, other than the secured creditors, would receive nothing. Accordingly, since the
Plan proposes a substantial dividend to all creditors, such creditors are receiving more than they
would receive in a Chapter 7 liquidation. Accordingly, the Plan satisfies the requirements of
Section 1129(a)(7).

                                            ARTICLE II
                                           DEFINITIONS

        Unless the context otherwise requires, the following capitalized terms shall have the
meanings indicated when used in this Plan which meaning shall be equally applicable to both the
singular and plural forms of such terms. Any term in this Plan that is not defined herein but that
is used in title 11, United States Code ("Code") shall have the meaning assigned to such term in
the Code.

        1.      “Administrative Claim" shall mean those Claims entitled to priority under the
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145        Doc 130
                          112     Filed 10/15/24
                                        06/10/24 Entered 10/15/24
                                                           06/10/24 15:05:11
                                                                    22:50:36           Desc Main
                                  Document
                                  Document Page  Page11
                                                      3 of
                                                        of20
                                                           28



provisions of Section 507 of the Code, pursuant to a claimed and allowed administrative expense
priority under Section 503(b) of the Code.

        2.      "Allowed Claim" as to all Classes, hereinafter specified, shall mean a Claim
against Debtor (a) for which a Proof of Claim has been timely filed with the Court by the Bar Date,
or, with leave of the Court and without objection by any party-in-interest, late-filed and as to which
neither the Debtor nor any party-in-interest files an objection or as to which the Claim is allowed
by Final Order of the Court, or (b) scheduled in the list of creditors, as may be amended, prepared
and filed with the Court pursuant to Rule 1007(b) and not listed as disputed, contingent or
unliquidated as to amount, as to which no objection to the allowance thereof has been interposed
through closing of this case, or as to which any such objection has been determined by an order or
judgment which is no longer subject to appeal or certiorari proceeding and as to which no appeal
or certiorari proceeding is pending. This category includes all Claims deemed unsecured pursuant
to §506(a) of the Code. When "Allowed Claim" is used in the context of a Secured Claim, the
provisions of §506(b) of the Code shall also apply.

        3.       "Allowed Secured Claim" shall mean an Allowed Claim secured by a lien, security
interest, or other encumbrance on the properties owned by the Debtor, which lien, security interest,
or other encumbrance has been properly perfected as required by law, to the extent of the value of
the property encumbered thereby. That portion of such Claim exceeding the value of the security
held therefor shall be an Unsecured Claim, as defined below and determined pursuant to 11 U.S.C.
§506(a).

         4.      "Allowed Unsecured Claim" shall mean an unsecured Claim against Debtor (a)
for which a Proof of Claim has been timely filed with the Court by the Bar Date, or, with leave of
the Court and without objection by any party-in-interest, late-filed and as to which neither the
Debtor nor any party-in-interest files an objection or as to which the Claim is allowed by Final
Order of the Court, or (b) scheduled in the list of creditors, as may be amended, prepared and filed
with the Court pursuant to Rule 1007(b) and not listed as disputed, contingent or unliquidated as
to amount, as to which no objection to the allowance thereof has been interposed through closing
of this case, or as to which any such objection has been determined by an order or judgment which
is no longer subject to appeal or certiorari proceeding and as to which no appeal or certiorari
proceeding is pending. This category includes all Claims deemed unsecured pursuant to §506(a)
of the Code.

       5.      "Bar Date" shall mean the date fixed by the Court as the last date for filing all
Claims in this case other than Administrative and Priority Claims or Rejection Claims.

       6.      "Case" shall mean this Chapter 11 case.

        7.     "Claim" shall mean any right to payment from the Debtor as of the date of entry of
the Order Confirming Plan whether or not such right is reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured or unsecured or can be asserted by way of set-off. Claim includes any right or cause of
action based on a pre-petition monetary or non-monetary default.

       8.      "Claimant" shall mean the holder of a Claim.

       9.       "Class" shall refer to a category of holders of Claims or interests which are
"substantially similar" as provided for in Section 1122 of the Code.
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145       Doc 130
                         112     Filed 10/15/24
                                       06/10/24 Entered 10/15/24
                                                          06/10/24 15:05:11
                                                                   22:50:36          Desc Main
                                 Document
                                 Document Page  Page12
                                                     4 of
                                                       of20
                                                          28




        10.    "Code" shall mean the United States Bankruptcy Code, being title 11 of the United
States Code, as enacted in 1978 and thereafter amended.

       11.     "Confirmation" or "Confirmation of this Plan" shall mean entry by the Court of
an Order confirming this Plan at or after a hearing pursuant to Section 1129 of the Code.

       12.     "Confirmation Date" shall mean the date on which the Court enters an Order
confirming this Plan.

        13.   "Court" shall mean the United States Bankruptcy Court for the Eastern District of
Texas, Sherman Division, presiding over this Chapter 11 reorganization case, or any successor
court of competent jurisdiction.

       14.     "Creditor" shall mean any person having a Claim against Debtor.

       15.     "Debt" shall mean any obligation of Debtor, alone, and any obligation of Debtor
and any other Person, to any Entity.

       16.     "Debtor" shall mean Iron Eagle, Inc.

       17.    "Disbursing Agent" shall mean the Reorganized Debtor even in the event of a
confirmation under 11 U.S.C. §1191(b).

       18.     "Effective Date" shall mean thirty days after the Final Confirmation Date.

       19.     "Entity" shall include Person, estate trust, governmental unit and the United States
Trustee.

       20.     "Equity Interest Holders" shall mean holders of the equity interests in the Debtors.

         21.      "Final Confirmation Date" shall mean that date which is fourteen (14) days
following the entry of the Order Confirming Plan, during which period of time no Notice of Appeal
is filed, or if a Notice of Appeal is filed, during which period of time no Motion for Stay Pending
Appeal is granted or supersedeas bond is approved and filed.


       22.     "Order Confirming Plan" shall mean the Order of the Court determining that this
Plan meets the requirements of Chapter 11 of the Code and is entitled to confirmation under
Chapter 11 of the Code.

     23.     "Petition Date" shall mean the date on which the Debtor filed this proceeding,
November 9, 2023.

      24.   "Plan" shall mean this Plan of Reorganization in its present form or as it
may be amended, modified or supplemented.

       25.     "Priority Claim" shall mean any Claim entitled to priority pursuant to Section
507(a) of the Code except for Tax Claims and Claims incurred by the Debtor post-petition in the
ordinary course of business.
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145       Doc 130
                         112     Filed 10/15/24
                                       06/10/24 Entered 10/15/24
                                                          06/10/24 15:05:11
                                                                   22:50:36           Desc Main
                                 Document
                                 Document Page  Page13
                                                     5 of
                                                       of20
                                                          28




       26.    "Rejection Claim" shall mean any Claim arising out of the rejection of a lease or
executory contract pursuant to Section 365 of the Code, which Claim shall be treated as an
Unsecured Claim.

        27.     "Reorganized Debtor" shall mean the entity which shall assume title to and
control of the Debtors' assets and liabilities upon confirmation as provided herein.

        28.      "Secured Claim" shall mean an Allowed Claim secured by a lien, security
interest, or other encumbrance on the properties owned by the Debtor, which lien, security interest,
or other encumbrance has been properly perfected as required by law, to the extent of the value of
the property encumbered thereby. That portion of such Claim exceeding the value of the security
held therefor shall be an Unsecured Claim, as defined below and determined pursuant to 11 U.S.C.
§506(a).

       29.     “Sub-Chapter V Trustee” shall be that person appointed under 11 U.S.C. §1183.

     30.   "Substantial Consummation" shall occur upon                     Reorganized     Debtor's
commencement of payments to creditors as provided in this Plan.

       31.     "Tax Claims" shall mean any Claim entitled to priority under Section 507(a)(8) of
the Code and shall include the claims of taxing authorities for taxes owed on the property retained
by the Debtor under this Plan.

       32.     "Unsecured Claim" shall mean any Allowed Claim, whether or not liquidated or
contingent other than a Priority Claim, a Tax Claim, or a Secured Claim.

                                        ARTICLE III
                                     REPRESENTATIONS

     NO REPRESENTATIONS CONCERNING THE DEBTOR IS AUTHORIZED BY
THE DEBTOR OTHER THAN THOSE SET FORTH IN THIS PLAN. THE DEBTOR
RECOMMENDS THAT ANY REPRESENTATION OR INDUCEMENT MADE TO
SECURE YOUR ACCEPTANCE OR REJECTION OF THE PLAN WHICH IS NOT
CONTAINED IN THIS PLAN SHOULD NOT BE RELIED UPON BY YOU IN
REACHING YOUR DECISION ON HOW TO VOTE ON THE PLAN.         ANY
REPRESENTATION OR INDUCEMENT MADE TO YOU NOT CONTAINED HEREIN
SHOULD BE REPORTED TO THE ATTORNEYS FOR DEBTOR WHO SHALL
DELIVER SUCH INFORMATION TO THE COURT FOR SUCH ACTION AS MAY BE
APPROPRIATE.

     ANY BENEFITS OFFERED TO THE CREDITORS ACCORDING TO THE PLAN
WHICH MAY CONSTITUTE "SECURITIES" HAVE NOT BEEN APPROVED OR
DISAPPROVED BY THE FEDERAL SECURITIES AND EXCHANGE COMMISSION
("SEC"), THE TEXAS SECURITIES BOARD, OR ANY OTHER RELEVANT
GOVERNMENTAL AUTHORITY IN ANY STATE OF THE UNITED STATES. IN
ADDITION, NEITHER THE SEC, NOR ANY OTHER GOVERNMENTAL AUTHORITY
HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THIS PLAN. ANY
REPRESENTATIONS TO THE CONTRARY MAY BE A CRIMINAL OFFENSE.

DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145       Doc 130
                         112     Filed 10/15/24
                                       06/10/24 Entered 10/15/24
                                                          06/10/24 15:05:11
                                                                   22:50:36           Desc Main
                                 Document
                                 Document Page  Page14
                                                     6 of
                                                       of20
                                                          28



     THE INFORMATION CONTAINED HEREIN HAS NOT BEEN SUBJECT TO A
CERTIFIED AUDIT. FOR THE FOREGOING REASON, AS WELL AS BECAUSE OF
THE IMPOSSIBILITY OF MAKING ASSUMPTIONS, ESTIMATES AND
PROJECTIONS INTO THE FUTURE WITH ACCURACY, THE DEBTOR IS UNABLE
TO WARRANT OR REPRESENT THAT THE INFORMATION CONTAINED HEREIN
IS COMPLETELY ACCURATE, ALTHOUGH EVERY REASONABLE EFFORT HAS
BEEN MADE TO ENSURE THAT SUCH INFORMATION IS ACCURATE. THE
APPROVAL BY THE COURT OF THIS PLAN DOES NOT CONSTITUTE AN
ENDORSEMENT BY THE COURT OF THE PLAN OR GUARANTEE THE ACCURACY
OR COMPLETENESS OF THE INFORMATION CONTAINED HEREIN.

     THE DEBTOR BELIEVES THAT THE PLAN WILL PROVIDE CLAIMANTS
WITH AN OPPORTUNITY ULTIMATELY TO RECEIVE MORE THAN THEY WOULD
RECEIVE IN A LIQUIDATION OF THE DEBTOR’S ASSETS, AND SHOULD BE
ACCEPTED. CONSEQUENTLY, THE DEBTOR URGES THAT CLAIMANTS VOTE
FOR THE PLAN.

    DEBTOR DOES NOT WARRANT OR REPRESENT THAT THE INFORMATION
CONTAINED HEREIN IS CORRECT, ALTHOUGH GREAT EFFORT HAS BEEN
MADE TO BE ACCURATE. THE STATEMENTS CONTAINED IN THIS PLAN ARE
MADE AS OF THE DATE HEREOF UNLESS ANOTHER TIME IS SPECIFIED HEREIN.
                            ARTICLE IV
                 FINANCIAL PICTURE OF THE DEBTOR

       Iron Eagle, Inc. was formed on May 7, 2019 in the State of Texas by Brandon Weinlein.
Mr. Weinlein has extensive experience in the excavation business. In its first year of operations
the Debtor generated more than $1,000,000 in revenue.

        In the months of January, February and March of 2020 the company did just under a million
dollars in billed revenue. In March of 2020 COVID hit. Trying to collect on those receivables was
a different story. Through a lot of hard work and perseverance, the company was able to prevail
with the help of the PPP and an EIDL loan. Business continued, but receivables began to accrue.

        In 2022 and 2023, the Debtor began having difficulty with certain General Contractors
not paying their invoices. The Debtor had been dealing with Tegrity Contractors and Ratcliff
Constructors. The Debtor provided excavation services for 3 schools that it has not been paid on.
All 3 of these projects have bond claims against them totaling over $420,000.00. In July and
August of 2023 Ratcliff stopped paying the Debtor which began a very difficult time because the
Debtor had the majority of their staff on 2 of the school projects. This began a downhill spiral due
to new jobs not starting because of higher interest rates and Owners waiting on beginning their
projects. Bond Claims have been sent out.

       Presently the Debtor has over $3,000,000.00 in awarded projects.

                                    Post Petition Operations

                         Future Income and Expenses Under the Plan

        The Debtor filed this case on November 9, 2023 and has been able to continue operations
since the case was filed. The Debtor has struggled throughout the case to collect its receivables.
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145       Doc 130
                         112     Filed 10/15/24
                                       06/10/24 Entered 10/15/24
                                                          06/10/24 15:05:11
                                                                   22:50:36           Desc Main
                                 Document
                                 Document Page  Page15
                                                     7 of
                                                       of20
                                                          28



The Debtor’s backlog of work remains strong and projects on the books have started to begin. The
Debtor intends to continue operations. Attached hereto as Exhibit “A” are projections of gross
income,
expenses and operating income for the next year. It is anticipated that after confirmation, the
Debtor will continue in business. Based upon the projections, the Debtor believes it can service
the debt to the creditors.

                                Post-Confirmation Management

      The Debtor is currently owned 100% by Brandon Weinlein. After confirmation the
ownership will remain the same.

                                   ARTICLE V
                      ANALYSIS AND VALUATION OF PROPERTY

         The Debtor operates an excavation company. The Debtor’s major assets consist of the
equipment the Debtor uses for operations and its accounts receivable. The value of the Debtor’s
assets, if liquidated, would not provide a greater dividend to the unsecured creditors than proposed
under this Plan.

       A liquidation analysis of the Debtor’s assets is attached hereto as Exhibit "B".

                                  ARTICLE VI
                      SUMMARY OF PLAN OF REORGANIZATION

       The Debtor will continue in business. The Debtor’s Plan will break the existing claims into
14 categories of Claimants. These claimants will receive cash payments over a period of time
beginning on the Effective Date.

        Satisfaction of Claims and Debts: The treatment of and consideration to be received by
holders of Allowed Claims or interests pursuant to this Article VI of this Plan shall be the sole an
exclusive means for full settlement, release and discharge of their respective Claims, Debts, or
interests. On the Confirmation Date, the Reorganized Debtor shall assume all duties,
responsibilities and obligations for the implementation of this Plan. Any class of Claimants failing
to vote on this Plan shall be deemed to have accepted this Plan in its present form or as modified
or amended as permitted herein.

        Class 1 Claimants (Allowed Administrative Claims of Professionals and Subchapter
V Trustee or any creditor with an Allowed Administrative Claim) are impaired and will be
paid in full pursuant to 11 U.S.C. § 1191(e). All Administrative fees are subject to approval by
the Court as reasonable.

        More specifically, as it relates to Iron Capital Rentals (USA) Inc. (“ICR”), ICR shall have
an Allowed Administrative Claim of $215,000, which claim shall be paid out over a five-year
period in equal monthly installments. Debtor estimates the monthly payments to ICR to be $3,584.

       The Class 1 Claimants are impaired under this Plan.

        Class 2 Claimant (Allowed Internal Revenue Service Claims) are impaired and shall be
satisfied as follows: The Allowed Amount of Allowed Internal Revenue Service Claims shall be
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145        Doc 130
                          112      Filed 10/15/24
                                         06/10/24 Entered 10/15/24
                                                            06/10/24 15:05:11
                                                                     22:50:36            Desc Main
                                   Document
                                   Document Page  Page16
                                                       8 of
                                                         of20
                                                            28



paid out of the revenue from the continued operations of Debtor. The Internal Revenue Service
(IRS) has filed a Priority Proof of Claim in the amount of $10,000. The claim is based upon an
unfiled corporate tax return for 2023. Debtor would show when the return is filed it will not owe
any monies to the IRS on this claim. However, the Debtor believes it owes the IRS for past due
941 taxes. Based upon its records the Debtor would show the amount due the IRS for 941 taxes is
$465,385. The IRS Allowed Priority Claim will be paid in full over 52 equal monthly payments
commencing on the Effective Date, with interest at a rate of 8% per annum.

        Failure of the Debtor to meet the payment obligations set forth in the Plan shall constitute
an event of default under the Plan. In addition, upon a default under the Plan, the administrative
collection powers and the rights of the IRS shall be reinstated as they existed prior to the filing of
the bankruptcy petition, including, but not limited to, the assessment of taxes, the filing of a notice
of a Federal (or state) tax lien and the powers of levy, seizure, and sale under the Internal Revenue
Code. The below stated provisions apply to the IRS:

        ( a ) If the Debtor or its successor in interest fails to make any Plan payments, and
deposits of any currently accruing employment or sales tax liability, fails to make payment of any
tax to the Internal Revenue Service within 10 days of the due date of such deposit or payment, or
if the debtor or its successor in interest fails to file any required federal or state tax return by the
due date of such return, then the United States may declare that the Debtor in default of the Plan.
Failure to declare a default does not constitute a waiver by the United States of the right to declare
that the successor in interest or Debtor is in default.
        ( b ) If the United States declares the debtor or the successor in interest to be in default
of the Debtor’s obligations under the Plan, then the entire imposed liability, together with any
unpaid current liabilities, shall become due and payable immediately upon written demand to the
Debtor or the successor in interest.
        ( c ) If full payment is not made within 14 days of such demand, then the Internal
Revenue Service may collect any unpaid liabilities through the administrative collection provisions
of the Internal Revenue Code. The IRS shall only be required to send two notices of default and
upon the third event of default, the IRS may proceed to collect on all accounts owed without
recourse to the Bankruptcy Court and without further notice to the Debtor.
        ( d ) The collection statute expiration date will be extended from the Petition Date until
substantial default under the Plan.
        ( e ) All payment will be sent to: Chastina McMillion/ IRS, 1100 Commerce Street, Mail
Code 5027 DAL, Dallas, Texas 75242.

        The Internal Revenue Service shall not be bound by any release provisions in the Plan that
would release any liability of the responsible persons of DFW to the IRS. The Internal Revenue
Service may take such actions as it deems necessary to assess any liability that may be due and
owing by the responsible persons of the Debtor to the Internal Revenue Service; but the Internal
Revenue Service shall not take action to actually collect from such persons unless and until there
is a default under the plan, and as set forth in paragraph (4)(a)-(d) above.

       The Class 2 claimant is impaired under this Plan.

        Class 3 Claimant (Allowed Secured Claim of the Texas Workforce Commission) is
impaired and shall be satisfied as follows:: the Texas Workforce Commission (“TWC”) has filed
a Proof of Claim asserting a claim for unemployment taxes in the amount of $38,592.31. This
claim is based upon the estimated taxes due to the Debtor’s failure to file certain returns. Once the
returns are filed the Debtor believes this claim will be substantially reduced. To the extent the
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145        Doc 130
                          112     Filed 10/15/24
                                        06/10/24 Entered 10/15/24
                                                           06/10/24 15:05:11
                                                                    22:50:36           Desc Main
                                  Document
                                  Document Page  Page17
                                                      9 of
                                                        of20
                                                           28



TWC’s Proof of Claim is allowed, the Debtor shall pay the priority amounts in the TWC Proof of
Claim in full with interest at the rate of 9.5% per annum in 52 equal monthly payments
commencing on the Effective Date.
        Notwithstanding anything else to the contrary in the Plan or Confirmation Order, these
provisions will govern the treatment of the claims of the TWC: (1) nothing provided in the Plan or
Confirmation Order shall affect or impair any statutory or common law setoff rights of the TWC
in accordance with 11 U.S.C. § 553; (2) nothing provided in the Plan or Confirmation Order shall
affect or impair any rights of the TWC to pursue any non-debtor third parties for tax debts or
claims; (3) nothing provided in the Plan or Confirmation Order shall be construed to preclude the
payment of interest on the TWC of an administrative expense tax claims; (4) to the extent that
interest is payable with respect to any administrative expense, priority or secured tax claim of the
TWC, the interest rate shall be the statutory rate of interest, currently 9.5% per annum; and (5) the
TWC are not required to file a motion or application for payment of administrative expense claims;
the TWC’s administrative expense claims are allowed upon filing, subject to objection on
substantive grounds. All post-petition taxes owing to a TWC shall be paid in full on the Plan’s
Effective Date.

        A failure by the Debtor or Reorganized Debtor to make a plan payment to an agency of the
State of Texas shall be an Event of Default. If the Debtor or Reorganized Debtor fails to cure an
Event of Default as to an agency of the State of Texas within ten (10) days after service of a written
notice of default, then that agency may (a) enforce the entire amount of its claim; (b) exercise any
and all rights and remedies available under applicable non-bankruptcy law; and (c) seek such relief
as may be appropriate in this court. The Debtor and/or Reorganized Debtor can receive up to three
(3) notices of default, however, the third default cannot be cured.

       The Class 3 claimant is impaired under this Plan.

        Class 4 Claimant (Allowed Secured Claim of Small Business Administration) are
impaired and shall be satisfied as follows: Small Business Administration (“SBA”) has filed a
Proof of Claim asserting a secured claim in amount of $165,884. On or about March 27, 2020, the
Debtor executed that certain Promissory Note and Loan Security Agreement with the SBA
(“Note”). Claim”). The SBA has filed a Proof of Claim in the amount of $165,884. The SBA Note
is secured by, among other things, the accounts receivable of the Debtor. The SBA shall have a
secured Proof of Claim in the amount of $165,884. The SBA secured claim shall be paid with
interest at the rate of 3.75% per annum. The SBA shall receive monthly payments in the amount
of $731 commencing on the Effective Date until paid in full. The SBA shall maintain its liens on
the Debtor’s property until paid in full under the terms of this Plan.

       The Class 4 Claimant is impaired under this Plan.

        Class 5 Claimant (Allowed Secured Claim of Mazon Associates, Inc.) is impaired and
shall be satisfied as follows: On or about September 2, 2020, the Debtor executed that certain
Factoring Agreement and Security Agreement (“Agreement”) with Mazon Associates, Inc.
(“Mazon”). On or about, March18, 2022, Debtor executed that certain Security Agreement Note
(“Note”) with Mazon in the original principal amount of $90,000. The Note superceded the
Agreement and was secured by the accounts receivable of Debtor. Mazon has filed a Proof of
Claim in the amount of $66,725.66. Mazon shall have a secured claim in the amount of $66,725.66
(“Mazon Secured Claim”). The Mazon Secured Claim shall be paid in 60 equal monthly
installments commencing on the Effective Date with interest at the rate of 8.5% per annum. Mazon
shall retain its lien on the Debtor’s accounts until paid in full under the terms of this Plan.
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145       Doc 130
                         112     Filed 10/15/24
                                       06/10/24 Entered 10/15/24
                                                          06/10/24 15:05:11
                                                                   22:50:36           Desc Main
                                 Document      Page 18
                                                    10 of 28
                                                          20




       The Class 5 Claimant is impaired under this Plan.

        Class 6 Claimant (Allowed Secured Claim of Ally Bank) is impaired and shall be
satisfied as follows: On or about January 29, 2020, the Debtor executed that certain COMTrac
Lease Agreement (“Agreement #1”) with Ally Bank (“Ally”), for the purchase of that certain 2019
Ford 250 Supercab VIN 1FT7X2B69KEG23582 (“Vehicle). Ally has filed a Proof of Claim in
the amount of $25,942.41. Ally shall have a secured claim in the amount of $25,942.41 (“Ally
Secured Claim #1”). On or about January 29, 2020, the Debtor executed that certain COMTrac
Lease Agreement (“Agreement #2”) with Ally, for the purchase of that certain 2019 Ford 150
Crew Cab VIN 1FTEW1E41KFC11780 (“Vehicle). Ally has filed a Proof of Claim in the amount
of $19,698.22. Ally shall have a secured claim in the amount of $19,698.22 (“Ally Secured Claim
#2”). The Ally Secured Claims shall be paid in 60 equal monthly installments commencing on the
Effective Date with interest at the rate of 5% per annum. Ally shall retain its lien on the Vehicles
until paid in full under the terms of this Plan.

       The Class 6 Claimant is impaired under this Plan.

        Class 7 Claimant (Allowed Secured Claim of Rockwall Ford Mercury) is impaired
and shall be satisfied as follows: On or about December 11, 2023, the Court entered an Agreed
Order between the Debtor and Rockwall Ford Mercury (“Rockwall”). Rockwall has filed a Proof
of Claim in the amount of $5,618.33. Pursuant to the terms of the Agreed Order the Debtor shall
pay Rockwall monthly payments of $468.20 commencing on January 15, 2024, and continuing
until the Rockwall Proof of Claim has been paid in full.

       The Class 7 Claimant is impaired under this Plan.

        Class 8 (Allowed Secured Claim of Caterpillar Financial Services Corp) is impaired
and shall be satisfied as follows: On or about April 7, 2021, the Debtor executed that certain
Installment Sale Contract (“Contract #1) with Holt Texas, Ltd (“Caterpillar”)1 for the purchase of
that certain 2017 Caterpillar CS44B Vibratory Compactor s/n 4G300101 (“Compactor”). On or
about March 19, 2021, the Debtor executed that certain Installment Sale Contract (“Contract #2)
with Holt Texas, Ltd (“Caterpillar”)2 for the purchase of that certain 2021 Caterpillar 963- 12
Tract Loader s/n LTT00385 (“Loader”). Caterpillar has filed a secured Proof of Claim in the
amount of $229,570.94. Caterpillar shall have a Secured Claim in the amount of $229,570.94
(“Caterpillar Secured Claim”). Debtor shall pay the Caterpillar Secured Claim in 60 equal monthly
payments with 5% interest per annum commencing on the Effective Date. Caterpillar shall
maintain its liens of the Loader and Compactor until paid in full under the terms of this Plan.

       The Class 8 creditor in impaired under this Plan.

        Class 9 (Allowed Secured Claim of Kubota Credit Corporation) is impaired and shall
be satisfied as follows: On or about March 10, 2021, the Debtor executed that certain Retail
Installment Contract (“Contract”) with Kubota Credit Corporation (“Kubota”) for the purchase
of that a Kubota SVL95-2SHFC s/n KBCZ063CCL1L53939;Kubota 80" Bucket APHD80LLT;

       1        Upon information and belief, Holt Texas, Ltd., assigned its interest in Contract #1
to Caterpillar Financial Services Corp.
       2        Upon information and belief, Holt Texas, Ltd., assigned its interest in Contract #1
to Caterpillar Financial Services Corp.
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145       Doc 130
                         112     Filed 10/15/24
                                       06/10/24 Entered 10/15/24
                                                          06/10/24 15:05:11
                                                                   22:50:36           Desc Main
                                 Document      Page 19
                                                    11 of 28
                                                          20



Land Pride 80" Bucket APHD80LLY s/n 1598428; Land Pride 84" Box Blade s/n 1067107K; and
Land Pride APPFL5648 Fork Carriage s./n 1087212K (collective “Kubota Collateral”).Kubota has
filed a Proof of Claim in the amount of $49,186.43. Kubota shall have a Secured Claim in the
amount of $49,186.43 (“Kubota Secured Claim”). Debtor shall pay the Kubota Secured Claim in
60 equal monthly payments with 5% interest per annum commencing on the Effective Date.
Kubota shall maintain its liens of the Kubota Collateral until paid in full under the terms of this
Plan.

       The Class 9 creditor in impaired under this Plan.

        Class 10 (Allowed Secured Claim of Komastsu Financial Limited Partnership) is
impaired and shall be satisfied as follows: On or about March 18, 2021, the Debtor executed that
certain Security Agreement - Conditional Sales Contract (“Contract”) with Komatsu Financial
Limited Partnership (“Komatsu”) for the purchase of that certain Komatsu PC360LCi-11,
Hydraulic Excavator w/Bucket s/n A38359; 3 Top Con base stations s/n 1122-22889,1122-22600
and 1122-22934 and a TopCon Base Station and Rover s/n 1448-20065 (“Komatsu Collateral”).
Komatsu has filed a secured Proof of Claim in the amount of $252,740.46. Komatsu shall have a
Secured Claim in the amount of $252,740.46 (“Komatsu Secured Claim”). Debtor shall pay the
Kamatsu Secured Claim in 60 equal monthly payments with 5% interest per annum commencing
on the Effective Date. Komatsu shall maintain its liens of the Komatsu Collateral until paid in full
under the terms of this Plan.

       The Class 10 creditor in impaired under this Plan.

        Class 11 (Allowed Secured Claim of Impact Machinery LLC) is impaired and shall be
satisfied as follows: On or about February 15, 2023, the Debtor executed that certain Equipment
as/is Agreement with Impact Machinery, LLC (“Impact”) for the use of that certain 2022 Komatsu
GD655-6 w/FH915 TopCon System s/n 60884 (“Impact Collateral”). Impact shall have a Secured
Claim in the amount of $512,000 (“Impact Secured Claim”). Debtor shall pay the Impact Secured
Claim plus interest thereon at 5% per annum in 60 equal monthly payments of $9,662 commencing
on the Effective Date. Impact shall maintain its liens of the Impact Collateral until paid in full
under the terms of this Plan.

       The Class 11 creditor in impaired under this Plan.

       Class 12 (Unsecured Creditors) are impaired under the Plan and shall be satisfied as
follows: The Allowed Claims of Unsecured Creditors shall receive their pro rata portion of
payments made by the Debtor into the Class 12 Creditors Pool. This Class shall specifically
include any claims of Forward Financing, LLC. The Debtor shall make 60 monthly payments of
$1,000 each commencing on the Effective Date. The Debtor shall make distributions to the Class
12 Allowed Claims every 90 days commencing 90 days after the Effective Date.

       The Class 13 Creditors are impaired under this Plan.

        Class 14 (Current Equity Holders) are not impaired under the Plan and shall be satisfied
as follows: The Current Equity Holders shall retain his current ownership interests.

       The Class14 Equity Holders are not impaired by the Plan.

                                             ARTICLE VII
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145        Doc 130
                          112     Filed 10/15/24
                                        06/10/24 Entered 10/15/24
                                                           06/10/24 15:05:11
                                                                    22:50:36            Desc Main
                                  Document      Page 20
                                                     12 of 28
                                                           20



                            MECHANICS/IMPLEMENTATION OF PLAN

       Debtor anticipates the continued operations of the business to fund the Plan.

                                           ARTICLE VIII.
                                        FEASIBILITY OF PLAN

       The projections of the future business operations are attached hereto as Exhibit “A”. The
Debtor believes that the projections are accurate based upon the historical operations of the
business. Based upon the projections, the Debtor believes the Plan to be feasible.

                                          ARTICLE IX
                                   RETENTION OF JURISDICTION

        The Bankruptcy Court's jurisdiction to enforce or interpret this Plan shall be retained under
the Plan.

                                        ARTICLE X.
                               ALTERNATIVES TO DEBTOR'S PLAN

        If the Debtor's Plan is not confirmed, the Debtor’s bankruptcy case may be converted to a
case under Chapter 7 of the Code, in which case a trustee would be appointed to liquidate the assets
of the Debtor for distribution to its Creditors in accordance with the priorities of the Code.
Generally, a liquidation or forced sale yields a substantially lower amount. In Debtor’s case the
assets the Debtor maintains are subject to valid security interest of secured creditors. At a forced
sale the Debtor believes the actual amount received would be than the amount proposed to be aid
under the Plan, therefore, a liquidation would not result in a distribution to the unsecured creditors.

       A liquidation analysis is attached hereto as Exhibit “B”.

                                      ARTICLE XI
                      STATUS OF EXECUTORY CONTRACTS AND LEASES

               All unexpired leases and executory contracts shall be assumed on or before the
Effective Date. To the extent there are any unexpired leases or executory contracts, which have
not been assumed or dealt with in this Plan or Court Order prior to the Effective Date, they are
rejected except the current lease with its Landlord which is specifically assumed by this Plan.

                                      ARTICLE XII
                         EVENTS OF DEFAULT AND EFFECT THEREOF

         Unless expressly provided herein to the contrary, no Claimant shall have the right to
enforce any rights under this Plan until the Reorganized Debtor fails to cure any default hereunder
within fifteen (15) days of receipt of written notice of such default to Reorganized Debtor at
Brandon Weinlein at brandon@ironeagleexcavation.com. The Debtor will be entitled to no more
than two (2) notice of default during the term of the Plan from any creditor. Upon a third default
to that creditor, the automatic stay as to that creditor shall be automatically terminated.

                                              ARTICLE XIII
                                              DISCHARGE
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
 Case 23-42145        Doc 130
                          112     Filed 10/15/24
                                        06/10/24 Entered 10/15/24
                                                           06/10/24 15:05:11
                                                                    22:50:36            Desc Main
                                  Document      Page 21
                                                     13 of 28
                                                           20




       Upon Confirmation pursuant to 11 U.S.C. §1191(a) to the extent that a Claim or Debt has
been dealt with under this Plan, such Claim or Debt will be discharged. Upon confirmation
pursuant to 11 U.S.C. § 1191(b) discharge shall occur upon completion of all payments required
under this Plan.

                 The automatic stay imposed by Section 362 of the Code or any preliminary
injunction granted by the Court to allow for Substantial Consummation of this Plan shall remain
in effect until the Effective Date.

                                     ARTICLE XIV
                     RISKS TO CREDITORS UNDER THE DEBTOR'S PLAN

       Claimants and Equity Interest Holders should be aware that there are a number of
substantial risks involved in consummation of the Plan. The Plan contemplates that there will be
excess funds to pay Creditor Claims.

                                        ARTICLE XVI
                              TAX CONSEQUENCES TO THE DEBTOR

       Implementation of the Plan may result in federal income tax consequences to holders of
Claims, Equity Interest Holders, and to the Debtor. In this case all creditors will be paid in full the
amount of their claims. Tax consequences to a particular Creditor or Equity Interest Holder may
depend on the particular circumstances or facts regarding the Claim of the Creditor or the interests
of the Equity Interest Holder. CLAIMANTS ARE URGED TO CONSULT THEIR OWN
TAX ADVISOR AS TO THE CONSEQUENCES OF THE PLAN TO THEM UNDER
FEDERAL AND APPLICABLE STATE AND LOCAL TAX LAWS.

                                        ARTICLE XVII
                             PENDING OR ANTICIPATED LITIGATION

        The Debtor has evaluated potential claims which may be brought. The Debtor is unaware
of any litigation which could be brought for the benefit of the creditors of the estate.




                                                    Respectfully submitted,


 Dated: June 10, 2024                               /s/ Brandon Weinlein
                                                    Brandon Weinlein President,
                                                    Iron Eagle, Inc


 Presented by:

DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
Case 23-42145        Doc 130
                         112      Filed 10/15/24
                                        06/10/24 Entered 10/15/24
                                                           06/10/24 15:05:11
                                                                    22:50:36   Desc Main
                                  Document      Page 22
                                                     14 of 28
                                                           20



/s/ Robert T. DeMarco
DeMarco•Mitchell, PLLC
Robert T. DeMarco, Texas Bar No. 24014543
Email robert@demarcomitchell.com
Michael S. Mitchell, Texas Bar No. 00788065
Email mike@demarcomitchell.com
12770 Coit Road, 850
Dallas, TX 750251
T        972-991-5591
F        972-346-6791

Attorneys for        the    Debtor     and    Debtor-in-
Possession




DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
Case 23-42145   Doc 130
                    112   Filed 10/15/24
                                06/10/24 Entered 10/15/24
                                                   06/10/24 15:05:11
                                                            22:50:36   Desc Main
                          Document      Page 23
                                             15 of 28
                                                   20



                                     EXHIBIT “A”
                                   [PROJECTIONS]




DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
         Case 23-42145    Doc 130
                              112    Filed 10/15/24
                                           06/10/24 Entered 10/15/24
                                                              06/10/24 15:05:11
                                                                       22:50:36      Desc Main
                                     Document      Page 24
                                                        16 of 28
                                                              20

                                  Aug-24          Sep-24          Oct-24         Nov-24
Total Income                     $194,300.00     $194,600.00    $195,200.00     $197,200.00

Cost of Goods Sold
 Equipment Hauling/Transport        4,193.00    4,193.00    4,193.00    4,193.00
 Equipment Rental - COS            10,942.50   10,942.50   11,942.50   12,942.50
 Equipment Repairs/Service          2,000.00    2,000.00    2,000.00    2,000.00
 Estimating-Surveying               3,000.00    3,000.00    3,000.00    3,000.00
 Excavation Materials              38,860.00   38,920.00   39,040.00   39,440.00
Total Cost of Goods Sold         $ 58,995.50 $ 59,055.50 $ 60,175.50 $ 61,575.50
Gross Profit                     $135,304.50 $135,544.50 $135,024.50 $135,624.50
Expenses
 Advertising & Marketing                220.00         220.00          220.00          220.00
 Automobile Expense                   1,200.00       1,200.00        1,200.00        1,200.00
 Bank Charges & Fees                     25.00          25.00           25.00           25.00
Fuel                                  9,715.00       9,730.00        9,760.00        9,860.00
 Insurance                            3,200.00       3,200.00        3,200.00        3,200.00
 Interest Paid                                                                           0.00
 Job Supplies                         325.00      325.00               325.00          325.00
 Legal & Professional Services      2,000.00    2,000.00             2,000.00        2,000.00
 Office Supplies & Software         1,200.00    1,200.00             1,200.00        1,200.00
 Payroll Expenses                  72,340.00   72,340.00            72,340.00       72,540.00
 Postage & Delivery                    31.50
 Reimbursable Expenses                300.00      300.00               300.00      300.00
 Rent & Lease                       3,200.00    3,200.00             3,200.00    3,200.00
 Subcontractors/1099                1,700.00    1,700.00             1,700.00    1,700.00
 Telephone Expense                    505.47      505.47               505.47      505.47
Total Expenses                   $ 95,961.97 $ 95,945.47 $          95,975.47 $ 96,275.47
Net Operating Income             $ 39,342.53 $ 39,599.03 $          39,049.03 $ 39,349.03
Net Income                       $ 39,342.53 $ 39,599.03 $          39,049.03 $ 39,349.03

Plan payments
IRS                                      10300          10300           10300           10300
TWC                                        882            882             882             882
SBA                                        731            731             731             731
Mazon                                     1370           1370            1370            1370
Ally                                       856            856             856             856
Rockwall                                   468            468             468             468
Caterpillar                               4331           4331            4331            4331
Kubuta                                     928            928             928             928
Komatsu                                   4770           4770            4770            4770
Impact                                    9622           9622            9622            9622
unsecured                                 1000           1000            1000            1000
Iron Capital                              3584           3584            3584            3584
total                                    38842          38842           38842           38842

                                 $     500.53    $    757.03    $     207.03    $     507.03
         Case 23-42145    Doc 130
                              112    Filed 10/15/24
                                           06/10/24 Entered 10/15/24
                                                              06/10/24 15:05:11
                                                                       22:50:36     Desc Main
                                     Document      Page 25
                                                        17 of 28
                                                              20

                                  Dec-24           Jan-25        Feb-25         Mar-25
Total Income                     $198,200.00     $200,700.00   $202,700.00     $204,700.00

Cost of Goods Sold
 Equipment Hauling/Transport        3,000.00    3,000.00    3,000.00    3,000.00
 Equipment Rental - COS            13,942.50   14,942.50   15,942.50   16,942.50
 Equipment Repairs/Service          2,000.00    2,000.00    2,000.00    2,000.00
 Estimating-Surveying               3,000.00    3,000.00    3,000.00    3,000.00
 Excavation Materials              39,640.00   40,140.00   40,540.00   40,940.00
Total Cost of Goods Sold         $ 61,582.50 $ 63,082.50 $ 64,482.50 $ 65,882.50
Gross Profit                     $136,617.50 $137,617.50 $138,217.50 $138,817.50
Expenses
 Advertising & Marketing                220.00                        292.00
 Automobile Expense                   1,200.00  1,200.00            1,200.00        1,200.00
 Bank Charges & Fees                     25.00     25.00               25.00           25.00
Fuel                                  9,910.00 10,035.00           10,135.00       10,235.00
 Insurance                            3,200.00  4,767.80            4,767.80        4,767.80
 Interest Paid                          155.44    362.95
 Job Supplies                           325.00    325.00      325.00                  325.00
 Legal & Professional Services        2,000.00  2,000.00    2,000.00                2,000.00
 Office Supplies & Software           1,200.00  1,200.00    1,200.00                1,200.00
 Payroll Expenses                    72,740.00 72,940.00   73,140.00               73,340.00
 Postage & Delivery                                31.50                              128.01
 Reimbursable Expenses                300.00      300.00      300.00                  300.00
 Rent & Lease                       3,200.00    3,200.00    3,200.00                3,200.00
 Subcontractors/1099                1,700.00    1,700.00    1,700.00                1,700.00
 Telephone Expense                    505.47      505.47      505.47                  505.47
Total Expenses                   $ 96,680.91 $ 98,592.72 $ 98,790.27 $             98,926.28
Net Operating Income             $ 39,936.59 $ 39,024.78 $ 39,427.23 $             39,891.22
Net Income                       $ 39,936.59 $ 39,024.78 $ 39,427.23 $             39,891.22

Plan payments
IRS                                      10300         10300           10300           10300
TWC                                        882           882             882             882
SBA                                        731           731             731             731
Mazon                                     1370          1370            1370            1370
Ally                                       856           856             856             856
Rockwall                                   468           468             468             468
Caterpillar                               4331          4331            4331            4331
Kubuta                                     928           928             928             928
Komatsu                                   4770          4770            4770            4770
Impact                                    9622          9622            9622            9622
unsecured                                 1000          1000            1000            1000
Iron Capital                              3584          3584            3584            3584
total                                    38842         38842           38842           38842

                                 $    1,094.59   $    182.78   $     585.23    $    1,049.22
         Case 23-42145    Doc 130
                              112    Filed 10/15/24
                                           06/10/24 Entered 10/15/24
                                                              06/10/24 15:05:11
                                                                       22:50:36       Desc Main
                                     Document      Page 26
                                                        18 of 28
                                                              20

                                   Apr-25         May-25           Jun-25          Jul-25
Total Income                     $206,700.00     $208,700.00     $210,700.00     $212,700.00

Cost of Goods Sold
 Equipment Hauling/Transport        3,000.00    3,500.00    3,800.00    3,800.00
 Equipment Rental - COS            17,942.50   18,942.50   19,942.50   20,942.50
 Equipment Repairs/Service          2,000.00    2,000.00    2,000.00    2,000.00
 Estimating-Surveying               3,000.00    3,000.00    3,000.00    3,000.00
 Excavation Materials              41,340.00   41,740.00   42,140.00   42,540.00
Total Cost of Goods Sold         $ 67,282.50 $ 69,182.50 $ 70,882.50 $ 72,282.50
Gross Profit                     $139,417.50 $139,517.50 $139,817.50 $140,417.50
Expenses
 Advertising & Marketing                                                500.00          220.00
 Automobile Expense                   1,200.00        1,200.00        1,200.00        1,200.00
 Bank Charges & Fees                     25.00           25.00           25.00           25.00
Fuel                                 10,335.00       10,435.00       10,535.00       10,635.00
 Insurance                            4,767.80        4,767.80        4,767.80        4,767.80
 Interest Paid                                                                          765.97
 Job Supplies                         325.00      325.00      325.00                    325.00
 Legal & Professional Services      2,000.00    2,000.00    2,000.00                  2,000.00
 Office Supplies & Software         1,200.00    1,200.00    1,200.00                  1,200.00
 Payroll Expenses                  73,540.00   73,740.00   73,940.00                 74,140.00
 Postage & Delivery                    54.22
 Reimbursable Expenses                300.00      300.00      300.00      300.00
 Rent & Lease                       3,200.00    3,200.00    3,200.00    3,200.00
 Subcontractors/1099                1,700.00    1,700.00    1,700.00    1,700.00
 Telephone Expense                    505.47      505.47      505.47      505.47
Total Expenses                   $ 99,152.49 $ 99,398.27 $100,198.27 $100,984.24
Net Operating Income             $ 40,265.01 $ 40,119.23 $ 39,619.23 $ 39,433.26
Net Income                       $ 40,265.01 $ 40,119.23 $ 39,619.23 $ 39,433.26

Plan payments
IRS                                      10300           10300           10300           10300
TWC                                        882             882             882             882
SBA                                        731             731             731             731
Mazon                                     1370            1370            1370            1370
Ally                                       856             856             856             856
Rockwall                                   468             468             468             468
Caterpillar                               4331            4331            4331            4331
Kubuta                                     928             928             928             928
Komatsu                                   4770            4770            4770            4770
Impact                                    9622            9622            9622            9622
unsecured                                 1000            1000            1000            1000
Iron Capital                              3584            3584            3584            3584
total                                    38842           38842           38842           38842

                                 $    1,423.01   $    1,277.23   $     777.23    $     591.26
         Case 23-42145    Doc 130
                              112    Filed 10/15/24
                                           06/10/24 Entered 10/15/24
                                                              06/10/24 15:05:11
                                                                       22:50:36   Desc Main
                                     Document      Page 27
                                                        19 of 28
                                                              20

                                     Total
Total Income                     $2,426,400.00

Cost of Goods Sold
 Equipment Hauling/Transport         19,772.00
 Equipment Rental - COS              60,712.50
 Equipment Repairs/Service           24,000.00
 Estimating-Surveying                36,000.00
 Excavation Materials               331,727.08
Total Cost of Goods Sold         $ 472,211.58
Gross Profit                     $1,651,938.00
Expenses
 Advertising & Marketing              2,112.00
 Automobile Expense                  14,400.00
 Bank Charges & Fees                    300.00
Fuel                                 79,380.00
 Insurance                           49,374.60
 Interest Paid                        1,284.36
 Job Supplies                         3,900.00
 Legal & Professional Services       24,000.00
 Office Supplies & Software          14,400.00
 Payroll Expenses                   877,080.00
 Postage & Delivery                     245.23
 Reimbursable Expenses                3,600.00
 Rent & Lease                        38,400.00
 Subcontractors/1099                 20,400.00
 Telephone Expense                    6,065.64
Total Expenses                   $1,176,881.83
Net Operating Income             $ 475,056.17
Net Income                       $ 475,056.17

Plan payments
IRS                                      123600
TWC                                       10584
SBA                                        8772
Mazon                                     16440
Ally                                      10272
Rockwall                                   5616
Caterpillar                               51972
Kubuta                                    11136
Komatsu                                   57240
Impact                                   115464
unsecured                                 12000
Iron Capital                              43008
total                                    466104

                                 $      8,952.17
 Case 23-42145       Doc 130
                         112     Filed 10/15/24
                                       06/10/24 Entered 10/15/24
                                                          06/10/24 15:05:11
                                                                   22:50:36           Desc Main
                                 Document      Page 28
                                                    20 of 28
                                                          20



                                           EXHIBIT “B”
                                     [LIQUIDATION ANALYSIS]

                                              CHAPTER 7                     CHAPTER 11
       ASSETS

       Cash                                   5,000                         5,000
       Office equipment                       1,000                         2,500
       A/R                                    300,0003                      900,000
       EQUIPMENT                              900,000                       900,000




       LIABILITIES

       ADMINISTRATIVE                         235,000                       235,000
       TAXES                                  550,000                       550,000
       SECURED CREDITORS                      825,000                       825,000
       UNSECURED CREDITORS                    850,000                       850,000

       DISTRIBUTION TO UNSECURED                0%                          7%




        3      The Debtor would show it has $900,000 in A/R however at least $400,000 of that
is disputed and will need to be litigated to recover. Additionally, of the remaining A/R, the debtor
has discounted this amount based upon the Chapter 7 Trustee being unable to honor the warranty
provided by Debtor.
DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION PURSUANT TO SECTION 1190 OF THE
BANKRUPTCY CODE DATED JUNE 10, 2024
